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12                          UNITED STATES DISTRICT COURT

13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,              No. SA CR 17-158-DOC

15             Plaintiff,                   STIPULATION TO CONTINUE
                                            SENTENCING HEARING
16                  v.
                                            [No hearing set]
17   MINA KOLTA,

18             Defendant.

19
20         Plaintiff United States of America, by and through its counsel

21   of record, and defendant Mina Kolta (“defendant”), through his

22   counsel of record, hereby stipulate to continue the sentencing

23   hearing in this case, currently set for June 4, 2018 at 7:30 a.m.,

24   to September 24, 2018, at 7:30 a.m., OR to a date and time

25   convenient to this Court.     The continuance is due to the fact that

26   complexities of the case require more time for preparation for

27   ///

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 1   sentencing and it is therefore in the interests of justice that the

 2   sentencing be continued.

 3        IT IS SO STIPULATED.

 4   Dated: April 5, 2018               NICOLA T. HANNA
                                        United States Attorney
 5
                                        LAWRENCE S. MIDDLETON
 6                                      Assistant United States Attorney
                                        Chief, Criminal Division
 7

 8                                            /s/
                                        MARK AVEIS
 9                                      PAUL G. STERN
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10                                      Assistant United States Attorneys

11                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
12

13
     Dated: April 5, 2018               ANDRUES/PODBERESKY LLP
14

15                                            /s/
                                        MICHAEL D. NASATIR
16                                      Attorneys for Defendant
                                        MINA KOLTA
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